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In the Anited States Court of Federal Claims

No. 15-128C
(Filed February 13, 2015)

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ALEXIS STEWART, FEB 13 2015
U.S. COURT OF
Plaintiff, FEDERAL CLAIMS

Vv.
THE UNITED STATES,

Defendant.

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ORDER

On February 4, 2015, a letter was received from Alexis Stewart, addressed to
the Chief Judge of our court. The letter, dated January 29, 2015, concerned a case
that Mr. Stewart had brought and was pending in the United States District Court
for the Eastern District of New York (E.D.N.Y.). The Clerk’s office treated Mr.
Stewart’s letter as a complaint and the above-captioned case was opened in our
court on February 4, 2015. A close review of the letter suggests that Mr. Stewart
did not intend to initiate a case in our court, but rather was simply inquiring into
the status of his E.D.N.Y. case, as he does not state a claim within our jurisdiction
and instead seeks the resolution of a pending dispositive motion.

Chambers contacted Mr. Stewart and he indicated that he merely wanted
more information about the status of his case in the E.D.N.Y. Mister Stewart
further conveyed that he did not intend to bring a case in our court and agreed that
the case should be dismissed. Accordingly, this case is DISMISSED without
prejudice. The Clerk shall close the case.

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vV¢(CTon J. WOYSKI

Judge

IT IS SO ORDERED.
